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                      UNITED STATES DISTRICT COURT
                         DISTRICT OF NEW JERSEY

  ANDY KIM, in his personal
  capacity as a candidate for U.S.              No. 24-cv-01098-ZNQ-TJB
  Senate, et al.,
                                                Zahid N. Quraishi, U.S.D.J.
                     Plaintiffs,                Tonianne J. Bongiovanni, U.S.M.J.


  v.

  CHRISTINE GIORDANO
  HANLON, in her capacity as
  Monmouth County Clerk, et al.,

                     Defendants.

   MEMORANDUM OF LAW IN SUPPORT OF MOTION BY ELECTION
    LAW CLINIC AT HARVARD LAW SCHOOL FOR LEAVE TO FILE
  AMICUS CURIAE BRIEF IN SUPPORT OF PLAINTIFFS’ MOTION FOR
                  PRELIMINARY INJUNCTION


       Proposed Amicus Curiae Election Law Clinic at Harvard Law School submits

 this Memorandum in support of its motion for leave to appear as Amicus Curiae in

 this matter.

                     INTEREST OF THE AMICUS CURIAE

        ELC is a nonpartisan clinical program committed to protecting free and fair

 elections through litigation and legal advocacy. ELC is the first in-house clinic at a

 United States law school that focuses entirely on election law. The purpose of ELC




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 is to train the next generation of election lawyers through litigation and advocacy

 and to bring novel ideas to election law practice.

       As such, ELC has a demonstrated interest in the proper application of election

 law doctrines that protect the fundamental right to vote. Since its founding in 2021,

 ELC has sought to safeguard fair and free elections through litigation challenging

 voter suppression and intimidation, racial and partisan gerrymandering, minority

 vote dilution, campaign finance abuses, and an inaccurate and biased census.

 Recently, the ELC has successfully represented parties in right to vote litigation, see,

 e.g., Mont. Democratic Party v. Jacobsen, 518 P.3d 58 (Mont. 2022), redistricting

 challenges, see, e.g., Jacksonville Branch of the NAACP v. City of Jacksonville, 2023

 WL 119425 (11th Cir. Jan. 6, 2023); Clarke v. Wis. Elections Comm’n, 410 Wis.2d

 1 (Wis. 2023), and violations of the Voting Rights Act, see, e.g., Nairne v. Ardoin,

 2024 WL 492688 (D. La. Feb. 8, 2024).

       To further its mission of protecting voting rights, ELC has filed briefs as

 amicus curiae in several state and federal courts. Recently, the United States

 Supreme Court relied heavily on an amicus curiae brief filed by the Election Law

 Clinic in its 2023 decision in Allen v. Milligan. See, e.g., 143 S. Ct. 1487, 1509

 (2023) (citing Brief for Professors Jowei Chen et al. in Support of

 Appellees/Respondents, 143 S. Ct. 1487 (2022) (Nos. 21-1086, 21-1087)). Other

 amicus briefs filed by ELC include the Brief of Scholars of Congressional


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 Accountability as Amici Curiae in Support of Neither Party, West Virginia v. EPA,

 142 S. Ct. 2587 (2022) (Nos. 20-1530, 20-1531, 20-1778, and 20-1780) and the Non-

 Party Brief in Support of No Party of William Whitford et al., Johnson v. Wis.

 Elections Comm’n, 399 Wis.3d 623 (Wis. 2021) (No. 2021AP001450).

       As amicus curiae, ELC offers substantial experience and expertise in election

 law on behalf of the plaintiffs in this case challenging New Jersey electoral systems

 that jeopardize the right to vote in free and fair elections.

                                     ARGUMENT

       The Third Circuit has established that courts should grant a motion for leave

 to file an amicus brief when such motion shows that (1) the movant has an “adequate

 interest” and (2) the accompanying brief is “desirable” and “relevant to the

 disposition of the case.” Neonatology Assocs., P.A. v. C.I.R., 293 F.3d 128, 131 (3d

 Cir. 2002). The Third Circuit further explained that these requirements following

 from the Federal Rule of Appellate Procedure 29 should be “broadly interpreted” so

 as to grant leave to file amicus curiae briefs unless “it is obvious” that they do not

 comply with such guidelines. Id. at 133. Under this broad interpretation, amicus

 curiae need not be totally impartial but may “make[] a strong but responsible

 presentation in support of a party.” Id. at 131. Additionally, amicus curiae briefs are

 desirable “[e]ven when a party is very well represented” so long as they “provide

 important assistance to the court.” Id. at 132. Desirable assistance includes but is not


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 limited to (1) providing “background or factual references that merit judicial notice,”

 (2) contributing “particular expertise not possessed by any party to the case,” or (3)

 explaining “the impact a potential holding might have.” Id. (quoting Luther T.

 Munford, When Does the Curiae Need an Amicus?, 1 J. APP. PRAC. & PROCESSES

 279 (1999)). When assessing the desirability of the brief, the Third Circuit has

 cautioned that “it is preferable to err on the side of granting leave,” because “if a

 good brief is rejected, the merits panel will be deprived of a resource that might have

 been of assistance.” Id. at 133.

       Federal district courts in New Jersey follow these guidelines that the Third

 Circuit established for analyzing motions for leave to file an amicus curiae brief.

 See, e.g., C.P. v. N.J. Dep’t of Educ., 2019 WL 6907490, at *2–3 (D.N.J. Dec. 19,

 2019) (applying the Third Circuit test and granting motion for leave to file an amicus

 curiae brief); W.F. v. Roman Catholic Diocese of Paterson, 2021 WL 2500616

 (D.N.J. June 7, 2021) (same); Acra Turf Club, LLC v. Zanzuccki, 2014 WL 5465870,

 at *5–6 (D.N.J. Oct. 28, 2014) (same).

       Under this standard, the Court should grant ELC’s motion for leave to file an

 amicus curiae brief in support of plaintiffs’ motion for a preliminary injunction to

 bar use of New Jersey’s county line primary ballots that impose unconstitutional

 burdens on voting rights. As amicus curiae, ELC has a strong interest in ensuring

 that New Jersey voters have the right to vote for candidates fairly and freely, and its


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 proposed brief provides desirable assistance to the court in the form of election law

 expertise that is relevant to determining the constitutionality of New Jersey’s voting

 practices. The proposed brief provides a useful explanation of judicial precedent that

 foregrounds the issue of unconstitutional voting burdens that is at the heart of the

 challenge to New Jersey’s voting policies. In particular, the brief clarifies that cases

 over the decades applying the Anderson-Burdick test for analyzing voting burdens

 support a finding that New Jersey’s county line primary ballots unconstitutionally

 burden voters’ rights. In the brief’s discussion of these matters, ELC brings its unique

 expertise as a prominent clinic in the election law space that has advocated for and

 continues to support voting rights in cases across the country and before the Supreme

 Court.

                                    CONCLUSION

          For these reasons, the Court should grant leave to file the accompanying

 amicus curiae brief in support of plaintiffs.




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 Dated: March 12, 2024

                                     Respectfully submitted,

   s/ Nicholas O. Stephanopoulos      s/ Ronald K. Chen
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